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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROYCE CORLEY,

                            Plaintiff,
                                                     15 Civ. 1800 (KPF)
                   -v.-
                                                          ORDER
CYRUS R. VANCE JR., et al.,

                            Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of Defendants’ November 6, 2020 letters (Dkt.

#385-86) regarding their compliance with the Court’s February 11, 2020 Order

(Dkt. #358). Should Plaintiff wish to respond to Defendants’ letters, any such

reply must be submitted on or before November 30, 2020.

      The Clerk of Court is directed to transmit a copy of this Order to Plaintiff

at his address of record.

      SO ORDERED.

Dated: November 9, 2020
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge
